Case 8:15-cv-00192-AEP Document 133-5 Filed 05/24/17 Page 1 of 4 PageID 1906




                 EXHIBIT E
Case 8:15-cv-00192-AEP Document 133-5 Filed 05/24/17 Page 2 of 4 PageID 1907
Case 8:15-cv-00192-AEP Document 133-5 Filed 05/24/17 Page 3 of 4 PageID 1908
  Kevin Bechtel                                           December 15, 2011

                                                                 41                                                                  43
    1   General, your commissions, if it said, "40 percent,            1   Mr. Wechsler?
    2   Kevin Bechtel," based on your coding, that automatically       2     A    I believe so.
    3   went to Life Brokerage Partners; is that correct?              3     Q     You believe so. All right. And then the 40
    4         MR. GEITNER: Objection to form.                          4   for Life Brokerage Partners, a percentage of who kept
    5   BY MR. CLEVELAND:                                              5   what was decided by Mr. Wechsler?
    6     Q    That 40 percent --                                      6         MR. LANDER: Object to form.
    7     A    Okay.                                                   7         THE WITNESS: It was -- it -- the amount that
    8     Q    Let me back up. Whether it's the Cocco case             8     Andy Williams was paid was decided by Mr. Wechsler.
    9   or not, when you had a -- Life Brokerage Partner had its       9     Life Brokerage Partners had its own internal deal.
   10   own agency agreement with American General, correct?          10     We didn't -- Stephen Wechsler would get 100 percent
   11     A    Correct.                                               11     of the case as long as Life Brokerage Partner
   12     Q    And then you had your own agreement with               12     received 40 percent of the renewals on the case. By
   13   American General; is that correct?                            13     doing so, Life Brokerage Partners went on the ap for
   14     A    I believe so, yes.                                     14     40 percent, okay, or as you told me earlier, that
   15     Q    Okay. And was it your intent or if you can --          15     Kevin Bechtel did, but the commission went to Life
   16   let me back up. Do you know whether or not when you           16     Brokerage Partners.
   17   receive an individual commission, that it was                 17         At that point, Life Brokerage Partners knew
   18   automatically sent to Life Brokerage Partners based on        18     that they could take 7 percent right off the top and
   19   -- on your internal coding with American General?             19     that's theirs for in-house for underwriting a case
   20         MR. GEITNER: Objection to form.                         20     or basically in this scenario, taking paperwork from
   21         THE WITNESS: I don't believe I ever received            21     Mr. Wechsler's office, sending it to AIG, AIG taking
   22     commissions personally from American General, but in        22     it back to us, us sending it to Wechsler's office.
   23     the event that -- such as Texas when an entity could        23     We received 7 percent. We didn't have to do any of
   24     not be licensed and receive commissions in that             24     the -- we didn't have to order any medical records.
   25     state, a lot of times commissions were --                   25     We didn't have to do anything special for them. We

                                                                 42                                                                  44
    1      assignments were done.                                      1     didn't do anything. All we did is push paper from
    2   BY MR. CLEVELAND:                                              2     one side to the other. For doing that, we got to
    3      Q Okay.                                                     3     keep 7 percent, which is a pretty good deal for us.
    4      A So did -- Kevin Bechtel personally never                  4         So Mr. Wechsler then said, "Okay. I want you
    5   received a commissions, but Life Bro -- it went directly       5     to send me another 10 percent on this case --" which
    6   into a Life Brokerage Partners' operating account.             6     I believe it shows in the commission agreement "--
    7      Q So even in -- even internally if American                 7     and I want you to send Andy Williams 103 percent at
    8   General has documentation which says, you know, Kevin          8     40 percent or 30 percent but it's all in there and
    9   Bechtel was paid this much, Li -- internally, that money       9     broken down. I -- I wouldn't know. All I really
   10   would go into a Life Brokerage Partners' account?             10     worried about at the time was, did life Brokerage
   11      A I believe so. I mean, I'm not -- I'm not                 11     Partners keep its 7 and then we'd go to the
   12   quite understanding your question.                            12     accounting department and say, "You know, contact
   13      Q Well, you said, I've never received                      13     Mr. Wechsler and find out where the rest goes."
   14   commissions personally, right, you said that?                 14   BY MR. CLEVELAND:
   15      A Well, I have but not on this case.                       15     Q    Okay. Now, you say you didn't do anything but
   16      Q Not on this case. All right. How did it work             16   push paper, but you also say you, you know, assisted to
   17   on this case?                                                 17   the underwriting. So tell me what you would do on a
   18      A I believe the commissions were paid directly             18   policy like the Cocco policy.
   19   into Life Brokerage Partners' operating account. And          19     A    I can tell you what I did on the Cocco policy,
   20   unless there's something crazy with banking, I don't          20   Stephen Wechsler's policies because every agent is
   21   think that commissions can be paid to that operating          21   different. Some -- some require more hand held --
   22   account unless the commissions were made out to Life          22   holding, if you will. And for example, we would have to
   23   Brokerage Partners.                                           23   order all the medical records at our expense. We would
   24      Q All right. And, again, getting back to Cocco,            24   have to order all the expense reports at our expense.
   25   60 percent of the commission went straight into               25   We would have -- the NBRs at our expense, those types of


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Case 8:15-cv-00192-AEP Document 133-5 Filed 05/24/17 Page 4 of 4 PageID 1909


   Kevin Bechtel                                                                                          December 15, 2011

                                                                    61                                                                   63
     1     A    I would hope that they would send back an                 1     A       Oh. Well --
     2   executed -- executed contract to our contract department         2     Q       That's why I was --
     3   and go in our contracting file, yes.                             3     A       24th day of February. No year, you're right.
     4     Q    Okay.                                                     4     Q       And I've looked on the fax line. I was --
     5     A    I would hope so.                                          5   this is Life Brokerage Equity Group. And I assume this
     6     Q    Okay.                                                     6   probably related to your '03 appointment?
     7     A    But it's not the case with all carriers.                  7     A       The fax comes in at February 25th, '03, so.
     8   Sometimes they just forget to send it.                           8     Q       Oh, yeah. Okay. Okay. Yeah. So -- all
     9     Q    Yeah.                                                     9   right. Well, that -- that -- does this mean in '03 when
    10     A    So I'm not going to say they did when other              10   you had commissions, they were then assigned to Life
    11   carriers have not but I can't speak exactly.                    11   Brokerage Equity Group?
    12     Q    You just don't know if that happened?                    12     A       Yes.
    13     A    I don't know if it happened and I don't have             13     Q       Okay. All right. Thank you. Did you ever
    14   -- well, Exhibit 4 seems I've got the same as your front        14   receive a copy of the American General Compliance
    15   page of Exhibit 6 --                                            15   Manual?
    16     Q    Okay.                                                    16     A       I don't know.
    17     A    -- in my files from Life Brokerage Equity                17           MR. CLEVELAND: Mark this Exhibit 8.
    18   Group, but my Exhibit 5, I don't seem to have in my             18           (Defendant's Exhibit 8 was marked for
    19   files an executed copy of Exhibit 6, Page 2503.                 19     identification.)
    20     Q    Yeah.                                                    20   BY MR. CLEVELAND:
    21     A    That seems to be --                                      21     Q       When you were appointed -- was the first time
    22     Q    Okay.                                                    22   you were ever appointed with American General, was that
    23     A    -- seems like I filled one out, but I don't              23   in '03?
    24   have an executed copy in my files.                              24     A       Um, I don't know because I looked at it as AIG
    25     Q    In your files. And you don't know if one was             25   and they had State Life back at the time, which I did

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     1   sent or not?                                                     1   State Life business. And they had American General and
     2      A I don't know.                                               2   they had American General Life Brokerage, so I don't
     3      Q Now, we can agree that there were certain --                3   know.
     4   you were certainly an American General appointed agent           4     Q       Okay. Well, we have looked at your
     5   in 2007; is that correct?                                        5   appointment application from '03, correct?
     6      A I was a -- LBP -- myself personally and LBP,                6     A       The one I have in my file?
     7   Life Brokerage Partners --                                       7     Q       Yes.
     8      Q Were both appointed agents in '07?                          8     A       But I'm assuming I was appointed at some point
     9      A Part of it, yes.                                            9   between 1995 and 2003.
    10      Q Okay. And you were certainly bound by -- as                10     Q       With some other AIG or some AIG entity,
    11   with most carriers, you have duties and obligations to          11   correct?
    12   those carrier -- carriers when you were appointed by            12     A       Yes.
    13   them; is that correct?                                          13     Q       Not necessarily -- you don't know whether it
    14     A I am assuming I was bound by the IMO or BGA,                14   was American General Life Insurance company or not?
    15   general agency agreement from AIG, American General.            15     A       I don't know. I think it might have been US
    16     Q Okay.                                                       16   Life or State Life or.
    17     A    Yes. Did I answer that right?                            17     Q       Okay. All right. So did you ever receive a
    18     Q    You did.                                                 18   copy of that?
    19     A    I said, Yes.                                             19     A       I don't know.
    20      Q All right. Exhibit 7, this is an Assignment                20     Q       I will let you look through it.
    21   of Agent Contract executed in February. And it doesn't          21           MR. GEITNER: The one you marked as Exhibit 8?
    22   have a date and that's --                                       22           MR. CLEVELAND: Yeah, I'm about to read it.
    23      A 24th.                                                      23   BY MR. CLEVELAND:
    24      Q Is there a year? Am I missing that? That's                 24     Q       And when I say "8," it's Exhibit 8 to your
    25   what I was --                                                   25   deposition, American General Compliance Manual,


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